Case 22-17842-PDR   Doc 1612-8   Filed 07/10/23   Page 1 of 2




                EXHIBIT 8
               Case 22-17842-PDR
               Case 22-17842-PDR           Doc 1583
                                           Doc 1612-8 Filed
                                                         Filed 07/10/23 Page
                                                             07/07/23     Page
                                                                             592ofof59
                                                                                     2


j= Berger Singerman

                                                March 9, 2023



VIA OVERNIGHT MAIL

Mr. Jack Owoc
16720 Stratford Court
Southwest Ranches, FL 33131

         Re:     Termination Notice

Dear Mr. Owoc:

        As you are aware, this afternoon, there was a regularly scheduled meeting of the Boards of Directors
or Managers (as applicable) (collectively, the “Board'') of Vital Pharmaceuticals. Inc. and its affiliated
debtors (collectively, the "Company" or the "Debtors"). You had not previously indicated that you were
unavailable or did not intend to attend the March 9 Board meeting. At our direction, several individuals
reached out to you and your individual counsel. Justin Luna, in an attempt to secure your attendance at the
Board meeting. After waiting for more than 15 minutes, the Board meeting went forward.

        Among the issues taken up by the Board was your continued role with the Company and the Board.
For the reasons discussed during the Board meeting, the Board voted to terminate your employment with
the Company as Chief Executive Officer and Chief Scientific Officer, and to remove you from the Board
for cause, effective immediately ("Tcmnnation Date" or March 9. 2023).

       Your final paycheck representing all compensation due and owing to you for hours worked through
the Tcnnination Date will be provided to you on the next regularly scheduled pay day.

        Upon receipt of this notice, you must return all of the Debtors' property, including identification
cards or badges, access codes or devices, keys, mobile phones, computers, credit cards, physical files and
any odicr property and information in your possession of the Debtors. Please return this property and
information to John Di Donato immediately.

        Nothing contained in or omitted from this letter is or shall be deemed to be a limitation, restriction,
or waiver of any of the Debtors" rights or remedies, cither at law or in equity, against you. all of which arc
expressly reserved.

                                                            Sincerely,




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